          Case 2:11-cr-00073-RHW              ECF No. 171                filed 04/04/12              PageID.584 Page 1 of 2
O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                 «16770»
                                                                      for
                                             Eastern District of Washington


 U.S.A. vs.                Shean Reinhold Hatfield                                    Docket No.               2:11CR00073-002


                                Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Shean Reinhold Hatfield who was placed under pretrial release supervision by the Honorable Cynthia
Imbrogno sitting in the Court at Spokane, WA, on the 21st day of November 2011 under the following conditions:

Modified Condition #2: Defendant shall undergo a substance abuse evaluation and shall complete treatment indicated
by the evaluation or recommended by pretrial services and shall comply with all rules of a treatment program. Defendant
shall be responsible for the cost of testing, evaluation and treatment, unless the United States Probation Office should
determine otherwise. The United States Probation Office shall also determine the time and place of testing and
evaluation and the scope of treatment. If defendant fails in any way to comply or cooperate with the requirements and
rules of a treatment program, pretrial services shall notify the Court and the U.S. Marshal, who will be directed to
immediately arrest the defendant.

Modified Condition #3: If random urinalysis testing is not done through a treatment program, random urinalysis testing
shall be conducted through pretrial services, and shall not exceed six (6) times per month. Defendant shall submit to any
method of testing required by the Pretrial Services Office for determining whether the defendant is using a prohibited
substance. Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a
remote alcohol testing system, and/or any form of prohibited substance screening or testing. Defendant shall refrain
from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of prohibited
substance testing. Full mutual releases shall be executed to permit communication between the Court, pretrial services,
and the treatment vendor. Treatment shall not interfere with defendant’s court appearances.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The supervising U.S. Probation officer (USPO) has been unable to confirm if the defendant has complied
with recommended substance abuse treatment.

Violation #2: The defendant has failed to submit to urinalysis testing on eight occasions.

                            PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                         I declare under penalty of perjury that
                                                                                         the foregoing is true and correct.
                                                                                         Executed on:        04/04/2012
                                                                                by       s/Erik Carlson
                                                                                         Erik Carlson
                                                                                         U.S. Probation Officer
         Case 2:11-cr-00073-RHW      ECF No. 171   filed 04/04/12     PageID.585 Page 2 of 2
  PS-8
  Re: Hatfield, Shean Reinhold
  April 4, 2012
  Page 2

THE COURT ORDERS

[ ]      No Action
[; ]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other
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                                                              Signature of Judicial Officer
                                                                    
                                                              Date
